Lyndey R. Z. Bryant

From:                                            Raymond R. Ferrera <Ray.Ferrera@arlaw.com>
Sent:                                            Friday, August 02, 2019 9:25 PM
To:                                              Michael Dulin
Cc:                                              Lyndey R. Z. Bryant
Subject:                                         Re: Winglet v. Felker revised settlement docs


Michael,

First of all, you owed us a duty to confer prior to filing this motion, a duty with which you unfortunately did not comply.

Moreover, we had previously agreed that all of our communications regarding settlement were protected under FRE 408, a duty
which you have now violated by attaching our communications in support of your motion.

We will respond and defend against this motion shortly.

Ray

Sent from my iPhone

On Aug 2, 2019, at 5:38 PM, Michael Dulin <MDulin@polsinelli.com> wrote:

           Ray,

           I am sorry your client has taken this position. I know you have worked hard to get this matter resolved
           and am sorry we were not able to get this matter wrapped up this week. Unfortunately, I we will be
           required to put this to the Court. Therefore, we are moving forward with filing a motion to enforce our
           settlement agreement.

           Talk soon. Have a good weekend.

           Michael Dulin
           Shareholder

           mdulin@polsinelli.com
           303.583.8239
           1401 Lawrence Street, Suite 2300
           Denver, CO 80202
           polsinelli.com

           <image001.png>
           Polsinelli PC, Polsinelli LLP in California


           From: Raymond R. Ferrera [mailto:Ray.Ferrera@arlaw.com]
           Sent: Friday, August 02, 2019 12:40 PM
           To: Michael Dulin
           Subject: Winglet v. Felker revised settlement docs
           Importance: High

            EXTERNAL EMAIL

           PROTECTED COMMUNICATION UNDER F.R.E. 408
                                                                          1
                                                                                                                  Exhibit 1
REDACTED
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REDACTED
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